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                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLORADO



Civil Case No.:

WILLIAM NORRIS,

           Plaintiff,

                              v.

UNIVERSITY OF COLORADO, BOULDER (through its Board, the Regents of the University
of Colorado, a body corporate) and

PHILIP P. DISTEFANO,

           Defendants.


                                    COMPLAINT AND JURY DEMAND


           Plaintiff William Norris (hereinafter referred to as “Plaintiff” or “Mr. Norris”), by his

attorneys Nesenoff & Miltenberg, LLP, and Foster Graham Milstein and Calisher, LLP, as and for

his complaint against Defendants University of Colorado at Boulder and Philip P. DiStefano

respectfully alleges as follows:

                                      THE NATURE OF THE ACTION

           1.          This action arises from an egregious miscarriage of justice against Plaintiff through

the University of Colorado at Boulder’s (“CU Boulder” or the “University”) flawed and biased

Title IX sexual misconduct process, carried out under a presumption of guilt, and willful ignorance

of major inconsistencies in the complainant, “Jane Roe’s,”1 false allegations of nonconsensual



1
    Jane Roe is a pseudonym.


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sexual contact against Plaintiff. Concerns with Jane Roe’s credibility were never raised by

University investigators, nor was her account questioned, because CU Boulder trains its staff to

adopt a trauma-informed approach which discourages the thorough questioning of complainants

in the sexual misconduct process to avoid further trauma.

          2.           Without sufficient supporting evidence, the University suspended Plaintiff—who

had only 6 credits left towards his bachelor’s degree—for a period of eighteen months. At the time,

Plaintiff—who had an unblemished disciplinary and academic record—was enrolled in AFROTC

and lost his scholarship, incurring major debt to the federal government. His anticipated career in

the Air Force was also sidelined.

          3.           Jane Roe’s false allegations were also the subject of a negligent criminal

investigation by the Boulder Police Department (“BPD”). CU Boulder’s Title IX investigators

relied on BPD interviews in evaluating Jane Roe’s University complaint and to fabricate

“inconsistencies” in Mr. Norris’ account of what happened when there were none.

          4.           CU Boulder administrators—facing pressure from the U.S. Department of

Education and former Vice President Joseph Biden to protect female sexual assault

complainants—worked together with the BPD in an effort to bolster their cases against Mr. Norris,

despite a glaring lack of evidence to support Jane Roe’s allegations. This included withholding

information from Mr. Norris until after BPD interviewed him.

          5.           Recognizing the lack of credible evidence against Mr. Norris in the criminal case,

in October 2017 a jury acquitted him of all charges.

          6.           Because Mr. Norris was subjected to a biased and flawed process pursuant to which

only two individuals (one with a conflict of interest) were responsible for investigating the case


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and issuing a finding, and one individual—CU Boulder’s Title IX Coordinator—was responsible

for sanctioning and reviewing his appeal, Mr. Norris’ sanction remains in his educational record

and he has not obtained his bachelor’s degree from the University, which he had anticipated

receiving in 2016.

          7.           Mr. Norris’ case is an exemplar of the injustice that occurs as a result of colleges

and universities applying a low burden of proof, the preponderance of the evidence standard, in

sexual misconduct cases. Under this scenario, an individual may be found not guilty and acquitted

of all charges in a criminal case but may still have his academic and career goals sidetracked or

even destroyed.2

          8.           Mr. Norris’ case also highlights the problem of colleges and universities, including

CU Boulder, investigating and adjudicating allegations against students prior to the conclusion of

any parallel criminal case.

          9.           As a result of Defendants’ imposition of the unwarranted and erroneous sanction

against Plaintiff, he has sustained economic injuries, the loss of educational and career

opportunities and emotional distress.

          10.          CU Boulder’s investigation and adjudication of Jane Roe’s allegations were tainted

by gender bias resulting from federal and local pressure to protect female victims of sexual

violence, and to reform CU Boulder’s policies to take a hard line against male students accused of

sexual misconduct. As a result, Plaintiff was deprived of a fair and impartial hearing with adequate

due process protections, as mandated by the United States Constitution.



2
  In September 2017 the United States Department of Education repealed the April 2011 Dear Colleague Letter and
issued new guidance permitting colleges and universities to apply the “clear and convincing evidence standard.”

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          11.          When Defendants subjected Plaintiff to disciplinary action they did so in a way that

deprived him of due process and discriminated against him because of his gender. CU Boulder’s

policies and regulations as promulgated are biased and discriminatory. While CU Boulder

significantly departed from these policies and regulations in Plaintiff’s case, the regulations and

policies they did follow were insufficient to protect the rights of male students accused of sexual

misconduct.

          12.          Plaintiff therefore brings this action to obtain relief based on claims for violations

of Title IX of the Education Amendments of 1972, violation of Fourteenth Amendment Procedural

Due Process, and breach of contract.

                                                 THE PARTIES

          13.          Plaintiff is a natural person and a resident of Texas.

          14.          Defendant CU Boulder is part of the University of Colorado system, with its

principal administrative offices in Denver, Colorado. CU Boulder is authorized, supervised and

funded by the State of Colorado pursuant to the Colorado Constitution and Title 23, Article 20 of

the Colorado Revised Statutes.

          15.          Defendant Dr. Philip DiStefano (“DiStefano”) is a natural person and, upon

information and belief, a resident of Colorado. DiStefano is the Chancellor of CU Boulder. He was

responsible for implementing the policies and procedures pursuant to which the investigation

against Mr. Norris was to be carried out and for hiring CU Boulder’s Title IX coordinator Valerie




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Simons. Mr. DiStefano is also the University official charged with the disclosure of student

education records to third party requestors.3

                                        JURISDICTION AND VENUE

          16.          This Court has federal question, diversity and supplemental jurisdiction pursuant to

28 U.S.C. § 1331, 28 U.S.C. § 1332 and 28 U.S.C. § 1367 because: (i) the federal law claims arise

under the constitution and statutes of the United States; (ii) Plaintiff and Defendants are citizens

of different states; and (iii) the state law claims are so closely related to the federal law claims as

to form the same case controversy under Article III of the United States Constitution.

          17.          This Court has personal jurisdiction over Defendant CU Boulder on the ground that

it is conducting business within the State of Colorado.

          18.          This Court has personal jurisdiction over Defendant DiStefano on the ground that

he was employed by CU Boulder at all times relevant herein and personally acted within the State

of Colorado and the District of Colorado.

                        FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS

I.        CU Boulder Faces Federal and Local Pressure to Comply with Title IX

          19.          On April 4, 2011, the Office for Civil Rights (“OCR”) of the United States

Department of Education issued a guidance letter to colleges and universities in the United States

in receipt of federal funding which became widely known as the “Dear Colleague Letter” (the

“DCL” or “2011 Dear Colleague Letter”). The DCL advised recipients that sexual violence

constitutes sexual harassment within the meaning of Title IX of the Education Amendments of




3
  See Doe v. DiStefano, No. 16-cv-1789-WJM-KLM (denying motion to dismiss procedural due process claim
against DiStefano).

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1972, 20 U.S.C. §1681 et seq. and its regulations, and directed schools to “take immediate action

to eliminate the harassment, prevent its recurrence and address its effects.” DCL at p. 4.

          20.          The DCL responded, in part, to a special investigative report published by National

Public        Radio         and     the    Center    for    Public     Integrity,   which     proclaimed

a campus rape epidemic and criticized the OCR for its lax response to what the report

characterized as a social problem of critical importance. See http://www.npr.org/templates/story/

story.php?storyId=124001493. The report described in detail the obstacles faced by sexual assault

victims in obtaining redress though college disciplinary proceedings and how victims who did

engage in the college disciplinary process suffered additional trauma as a result. Much of the report

focused on underreporting, re-traumatization of victims, rape myth adherence on college campuses

(e.g. that women invite rape, that rapes are just drunk hook-ups, and that women routinely lie), and

young men’s cultural adherence to the sex aggressor role.

          21.          The DCL, further, relied on faulty statistics in sounding a “call to action” for

campuses nationwide—that “about 1 in 5 women are victims of completed or attempted sexual

assault while in college.” DCL, at p. 2. The researchers behind this study subsequently invalidated

that statistic as a misrepresentation of the conclusions of the study and warned that it was

“inappropriate to use the 1-in-5 number as a baseline…when discussing our country’s problem

with rape and sexual assault.” http://time.com/3633903/campus-rape-1-in-5-sexual-assault-

setting-record-straight/. Relying on these faulty numbers, the DCL minimized due process

protections for the accused by, among other things, eschewing any presumption of innocence,

mandating a preponderance of the evidence standard, limiting cross-examination, and forbidding

certain forms of alternative dispute resolution.


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          22.          On May 16, 2013, a female student at CU Boulder filed a complaint with OCR

claiming that the school violated Title IX by failing to issue a severe enough sanction against a

male respondent who was found responsible for sexual assault. The complaint was widely

publicized, with the female student stating that she was forced to “do the dirty work that the

university couldn’t do.” Shortly thereafter, OCR opened an investigation at CU Boulder.4 Local

press noted that OCR had the power to “refer the case to the Department of Justice for prosecution

or seek to block federal funding for the university.”

          23.          On April 29, 2014, OCR issued additional directives to colleges and universities in

the form of a guidance document titled Questions and Answers on Title IX and Sexual Violence

(“Q&A”) which was aimed at addressing campus sexual misconduct policies, including the

procedures colleges and universities “must” employ “to prevent sexual violence and resolve

complaints” and the elements that “should be included in a school’s procedures for responding to

complaints of sexual violence.” Q&A, at p. 12. The Q&A advised schools to adopt a trauma

informed approach, advising, for example, that hearings should be “conducted in a manner that

does not inflict additional trauma on the complainant.” Id. at p. 31.

          24.          In April 2014, the White House issued a report entitled “Not Alone”, which—like

the April 2011 Dear Colleague Letter—relied upon the faulty “1 in 5” statistic and focused on

protecting women from sexual assault, “engaging men” and “if you see it happening, help her,

don’t blame her, speak up.” Id. at p. 2. The report also suggested that college and universities

undergo “trauma-informed training” because “victim’s often blame themselves; the associated



4
 The OCR investigation was not closed until September 2017, or fifteen months after Plaintiff was suspended from
CU Boulder.

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trauma can leave their memories fragmented; and insensitive or judgmental questions can

compound a victim’s distress.” The report added “[w]hen survivors are treated with care and

wisdom, they start trusting the system, and the strength of their accounts can better hold offenders

accountable.” The report included a warning that if the OCR found that a Title IX violation

occurred, the “school risk[ed] losing federal funds” and that the DOJ shared authority with OCR

for enforcing Title IX and may initiate an investigation or compliance review of schools. Further,

if a voluntary resolution could not be reached, the DOJ could initiate litigation. The report

contained no recommendation with respect to ensuring that the investigation and adjudication of

sexual assault complaints be fair and impartial or that any resources be provided to males accused

of sexual assault.

          25.          On May 1, 2014, the DOE issued a press release naming CU Boulder as one of the

initial 55 colleges and universities being investigated for violating Title IX. Then Assistant

Secretary of Education Catherine Llhamon (“Llhamon”) stated that the schools were being named

“in an effort to bring more transparency to our enforcement work and to foster better public

awareness of civil rights.” Per the press release, “[r]eleasing this list advances a key goal of

President Obama’s White House Task Force to Prevent Students from Sexual Assault…. The

Obama Administration is committed to putting an end to sexual violence—particularly on college

campuses.” “All universities…receiving federal funds must comply with Title IX. Schools that

violate the law and refuse to address the problems identified by OCR can lose federal funding or

be referred to the U.S. Department of Justice for further action.”

          26.          On May 1, 2014, Chancellor DiStefano issued a letter to the campus,

acknowledging the OCR’s public disclosure of the investigation of CU Boulder and outlined the


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University’s efforts to comply with Title IX since the opening of the investigation. DiStefano also

referenced the White House’s Not Alone report and noted “I am aware that many of our students

are circulating a petition asking for us to form a task force…to implement the White House’s

recommendations…I pledge to you that we will review all the White House recommendations and

integrate those elements into what we are currently doing, all with the goal to move us beyond

mere compliance, into leadership.”

          27.          On May 1, 2014, the CU Independent, the campus newspaper, addressed the OCR

announcement that CU Boulder was under investigation, noting “CU Boulder has come under fire

for claims related to sexual assault multiple times in the last year.”

          28.          On May 10, 2014, local press report that CU Boulder settled the “sexual assault

case that sparked Title IX investigation” with the female complainant. The female complainant

went on record stating that the University needed to change its policies “for all future survivors so

the campus is a lot safer for them and the policies really cater towards survivors’ needs.” In

response, a University spokesperson publicly declared that CU Boulder was committed to

complying with and exceeding Title IX requirements.

          29.          In June 2014, Llhamon testified before the United States Senate that if OCR could

not secure voluntary compliance with the DCL from a college or university, it could elect to initiate

an administrative action to terminate federal funds or refer the case to the Department of Justice.

          30.          On June 12, 2014, Chancellor DiStefano announced that the University had hired

“education and civil rights lawyer” Valerie Simons (“Simons”) to serve as Title IX Coordinator

for the campus. The article lauded Simons’ previous position working for the United States




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Department of Justice, including a case “which involved the admission and integration of women

at [a] formerly all-male state university.”

          31.          On September 1, 2014 the Chronicle of Higher Education noted that “Colleges face

increasing pressure from survivors and the federal government to improve the campus climate.”

“Presumed Guilty: College men accused of rape say the scales are tipped against them,” Chronicle

of Higher Education, September 1, 2014. In the same article, the Chronicle noted that different

standards were applied to men and women: “Under current interpretations of colleges’ legal

responsibilities, if a female student alleges sexual assault by a male student after heavy drinking,

he may be suspended or expelled, even if she appeared to be a willing participant and never said

no. That is because in heterosexual cases, colleges typically see the male student as the one

physically able to initiate sex, and therefore responsible for gaining the woman’s consent.”

“Presumed Guilty: College men accused of rape say the scales are tipped against them,” Chronicle

of Higher Education, September 1, 2014.

          32.          During the Fall 2014 semester, CU Boulder’s Title IX staff attended training

sessions which focused on “trauma informed interviewing.” These training sessions were provided

on a continuing basis going forward.5



5
  According to a website affiliated with trauma-informed “expert” Claire K. Hall, J.D., who offers just one of dozens
of trauma-informed training courses across the country, “Trauma-informed investigations have been shown to
significantly strengthen a victim’s account of incidents, to create a more supportive environment and to result in a
greater likelihood of holding responsible offenders accountable[.]” See https://www.paper-clip.com/Main/Product-
Catalog/TraumaInformed-Sexual-Assault-Investigations-Train-2918.aspx. A central tenet of trauma-informed
training is the purported “neurobiological change” that occurs during a sexual trauma wherein the body releases a
flood of chemicals that allegedly directly affect the individual’s actions during the event as well as her memory of the
event. According to proponents of the trauma-informed approach, “the stress associated with trauma makes it nearly
impossible for the brain to accurately recall all the details of a sexual assault.” Trauma-Informed Sexual Assault
Investigations Training Binder, 2016 (available at https://www.trauma-informed-investigations.com/sites/trauma-
informed-investigations.com/files/Trauma-Informed-Training-Samples.pdf). Thus, investigators and adjudicators are
taught in trauma-informed trainings that inconsistencies in a complainant’s story are a direct result of the trauma.

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          33.          In October 2014, two CU Boulder administrators gave a presentation at a

conference organized by ATIXA, or the Association of Title IX Administrators, in which they

asserted that “no one person in an institution can meet all the requirements for meaningful

prevention efforts and fair, coordinated responses to reports of sexual violence and harassment.”

The presentation discussed the collaborative relationship between CU Boulder’s Office of Student

Conduct and Office of Victim Assistance, noting “[a] collaborative relationship between victim

services and conduct investigators is important for both the survivors and the campus.”

          34.          In January 2015, CU Boulder held a “sexual misconduct town hall” called “It’s On

Us,” named for the national “anti-sexual assault campaign.”6 A focus of the meeting was the CU

Boulder Police Department’s shift in policies, to put “the survivor back in the driver’s seat.”

Administrators at the meeting confirmed that campus institutions were “working hard to make the

process as survivor-focused as possible.”

          35.          In February 2016, the CU Independent published an opinion piece which criticized

CU Boulder for administering lax punishments in sexual misconduct cases and fostering a “rape

culture…which…teaches young men that drunken hookups are a space of free reign where

anything goes.”

          36.          On April 8, 2016, former Vice President Biden delivered a speech to the CU

Boulder campus as part of the “It’s On Us Week of Action.” In preparation for the visit, Chancellor

DiStefano and Title IX Coordinator Simons appeared in an “It’s On Us” video. DiStefano


Similarly, they are trained to view those inconsistencies as a natural byproduct of sexual assault as opposed to an
indicator that the complainant’s story may lack credibility.
6
  The national It’s On Us website prominently features statistics about female sexual assault victims, including “female
students are 4X as likely to be victims of sexual assault than males.” Also included on the website are videos portraying
men as rapists. http://www.itsonus.org/


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announced that “[w]e share the same goals as the Vice President…. The campaign is part of our

comprehensive education and prevention initiatives to combat sexual violence and it complements

our overall efforts during the past two years to become a national model in this area.”

          37.          In his April 8th speech, Vice President Biden focused on protecting women from

sexual assault, discussing the faulty 1 in 5 statistic and stating “whether you’re already in bed with

him and you change your mind, No means no!” Biden further advised men on campus to “[l]ook

in the mirror and ask, are you being the man you think you are?” The speech was described by the

CU Boulder Alumni Association as a “test of character.” CU Boulder’s Office of Government

Relations also wrote about the visit in its Government Relations Newsletter.

II.     Mr. Norris’ Unblemished Academic and Disciplinary Record

          38.          Prior to the University’s imposition of the unwarranted sanction of suspension

against Mr. Norris, he was preparing to complete his final six credits at CU Boulder. Upon

graduation, he was committed to joining the United States Air Force as a Lieutenant and pursuing

a military career.

          39.          During his four years at CU Boulder, Mr. Norris maintained a 3.5 GPA as a major

in mechanical engineering and was an exemplary ROTC cadet. Prior to the University’s

investigation of Jane Roe’s false allegations against him, Mr. Norris was in good standing at CU

Boulder, had no prior disciplinary record and was well positioned in his ROTC program.

III.      CU Boulder’s Policies and Contract With Plaintiff

          40.          Upon his acceptance to CU Boulder, Plaintiff was provided with online access to

copies of the University’s Office of Student Conduct’s “Student Conduct Code Policies and

Procedures,” (the “Student Conduct Code”) which set forth the definitions and procedures pursuant


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to which allegations of sexual misconduct were investigated and students accused of violating the

Code were, possibly, disciplined. The Student Conduct Code was updated for the 2013-2014

academic year, the time period relevant to Jane Roe’s allegations against Plaintiff.7

           41.         The Student Conduct Code, in relevant part, defined “non-consensual sexual

contact” as:

           Any intentional sexual touching, however slight, with any object, by any person
           upon another person, that is without consent and/or by force. Sexual contact
           includes intentional contact with the breasts, buttocks, groin, or genitals, or
           touching another with any of these body parts, or making another touch you or
           themselves with or on any of these body parts; or any other intentional bodily
           contact in a sexual manner. App. 1, § A.

           42.         The Student Conduct Code defines “consent” as:

           [c]lear, knowing, and voluntary words or actions which create mutually
           understandable clear permission regarding willingness to engage in, and the
           conditions of, sexual activity. Consent must be active; silence by itself cannot be
           interpreted as consent.

                                                        ….

           Consent will be determined using both objective and subjective standards. The
           objective standard is met when a reasonable person would consider the words or
           actions of the parties to have manifested an agreement between them to do the same
           thing, in the same way at the same time, with another. The subjective standards [sic]
           when a party believes in good faith that the words or actions of the parties manifested
           an agreement between them to do the same thing, in the same way, at the same time,
           with one another. App. 1 § B.

           43.         The Student Conduct Code provides that:

           All reports or complaints should be made as promptly as feasible after the
           occurrence. A delay in reporting may be reasonable under some circumstances, as
           determined on a case-by-case basis. An unreasonable delay in reporting, however,
           is an appropriate consideration in evaluating the merits of a complaint. App. 1
           § D.2.


7
    All referenced herein to the Code are to the 2013-2014 version.

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          44.          The Student Conduct Code implemented a “preponderance of information”

standard for evaluating complaints, or that “it is more likely than not that the student violated the

Student Conduct Code.” § H.4.

          45.          Students who provided false information to any university official during the

conduct process could be charged with violating the Code. App. 1 § D.12.

          46.          In cases where the University imposed a sanction of suspension or expulsion, the

student was permitted to appeal the decision. Appeals were decided by a three-person Student

Conduct Appeal Committee with broad authority to reverse the University’s finding and reduce

any sanction. Code, § K.2.

          47.          In August 2014, under the direction of Defendant DiStefano, CU Boulder’s Office

of Institutional Equity and Compliance (“OIEC”) was created, and CU Boulder implemented the

OIEC Process and Procedures which were to govern sexual misconduct cases going forward and

replaced the Student Conduct Code as related to sexual misconduct. The Code remained in place

for other student conduct violations. The OIEC Process and Procedures were made available to

University students, including Mr. Norris, online. The 2015-2016 OIEC Process and Procedures,

which the OIEC wrongfully applied in Plaintiff’s case provide, in relevant part:

          (i)          “The Process and Procedures govern all students.” § C.1.

          (ii)         “There is no statute of limitations for OIEC matters. The date of the alleged incident
                       will determine which Process and Procedures (or applicable Student Code of
                       Conduct) will apply.” § C.2.

          (iii)        “Even if a victim chooses not to report formally and/or chooses not to participate in
                       an investigation process… the victim can contact the OIEC for information and
                       assistance accessing…support services.” § C.1 (emphasis added).




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          (iv)         “The University is committed to providing prompt, fair, impartial and equitable
                       investigation and resolution of any complaint that the University knows, or in the
                       exercise of reasonable care, should have known about.” § H.

          (v)          Prior to notifying a respondent that a report has been made, the University may
                       conduct a “preliminary inquiry” into the allegations. § H.1.

          (vi)         Remedial measures such as “no-contact orders enforced by the University” will not
                       disproportionately impact the complainant. § H.2. (emphasis added).

          (vii)        “Investigations will be conducted by staff who are appropriately trained and have
                       qualifications and experience that will facilitate a prompt, fair, equitable and
                       impartial investigation.” § H.4.

          (viii)       “If a formal investigation is commenced, the OIEC shall send the respondent and
                       complainant a Notice of Investigation which will…[r]equire that the respondent
                       contact the OIEC within three (3) days to set up a meeting.” (emphasis in original).

          (ix)         If the respondent does not “schedule or attend an interview by the date specified in
                       the Notice of Investigation…the OIEC may complete the investigation based on the
                       totality of the information.” § H.6.a.i.

          (x)          “The OIEC follows an investigative model…[t]here are no formal hearings.”
                       § H.6.a.ii. In contrast, the University’s Student Conduct Code for 2013-2014 and,
                       upon information and belief, 2015-2016 permitted a hearing for students accused
                       of far less serious residence hall violations.

          (xi)         “The University will use its best efforts to complete its investigation and impose
                       sanctions within sixty (60) days of the issuance of a Notice of Investigation.”
                       § H.6.a.vii. (emphasis in original).

          (xii)        There is no process through which respondents can question the complainant or
                       other witnesses, in order to test credibility or for purposes of cross-examination. In
                       contrast, the Student Conduct Codes for 2013-2014 and 2015-2016 permitted
                       students accused of Code violations other than sexual misconduct to submit written
                       questions to the presiding conduct officer to be asked of the complainant and
                       witnesses.

          (xiii) “At the conclusion of an investigation…the investigators shall prepare a written
                 Investigative Report that will include a statement of factual findings and a
                 determination as to whether or not there was a violation.” § H.6.a.iv. The applicable
                 standard of proof required for a finding of responsibility is “a preponderance of


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                       evidence, i.e., the information gathered demonstrates that it is ‘more likely than not’
                       that the conduct occurred.” § H.6.c.

          (xiv)        The Investigative Report “shall be presented for review to the Standing Review
                       Committee [which] shall consist of employees who have receive appropriate
                       training regarding implementation and application of the Process and Procedures.
                       The Standing Review Committee reviews the Investigative Report…for bias and
                       impartiality, thoroughness of the investigation and sufficiency to support the
                       finding.” § H.6.a.v. The Standing Review Committee may not conduct its own
                       investigation or hearing. Respondents are provided with no information about the
                       number of committee members, the composition of the committee, or when the
                       committee receives the Investigative Report for review. Respondents have no
                       opportunity to challenge the committee members.

          (xv)         “The OIEC shall advise the complainant and respondent simultaneously in writing
                       of the result or outcome of any investigation…. A copy of the investigator’s final
                       Investigative Report as approved by the Standing Review Committee shall be
                       provided to the complainant, the respondent, the Chancellor and …the Vice
                       Chancellor for Student Affairs.” § H.6.a.vi.

          (xvi)        “The Executive Director or designee is authorized to impose sanctions for student
                       respondents.” § H.6.f.

          (xvii) “The OIEC investigation report and sanction if applicable are final and there are no
                 separate appeal procedures.” § H.6.g.

          (xviii) “In all cases, the OIEC shall retain the investigator’s report and final sanction for a
                  minimum of three years or for as long as any administrative or legal action arising
                  out of the complaint is pending.” § H.8.

          48.          The 2015-2016 OIEC Process and Procedures outline the conflicting roles of the

Title IX Coordinator, Simons. § I. The Title IX Coordinator:

          (i)          also serves as the OIEC Director;

          (ii)         is responsible for “ensuring that complaints and any subsequent disciplinary actions
                       are being handled appropriately and in a timely manner;”

          (iii)        oversees “adequate, reliable and impartial investigations of complaints of
                       misconduct;”



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          (iv)         provides an annual report to Chancellor DiStefano documenting: “(1) the number
                       of reports or complaints of violations of th[e] policy; (2) the categories…of parties
                       involved; (3) the number of policy violations found; and (4) examples of sanctions
                       imposed for policy violations;”

          (v)          oversees and monitors “campus compliance” with the OIEC policy; and

          (vi)         ensures that there is “ongoing training and education regarding reporting and
                       preventing sexual misconduct for all students, faculty and staff.” Id.

          49.          Simons also conducted an “administrative review” in Plaintiff’s case. In doing so

she relied on the 2016-2017 OIEC Process and Procedures, which provide, in relevant part:

          The OIEC Executive Director or designee has the authority and discretion to review
          and take any appropriate action deemed necessary, including re-opening an
          investigation, if…the Process and Procedures set forth herein were not followed; or
          (3) additional circumstances warrant it. § C.5.

          50.          The 2016-2017 OIEC Process and Procedures further provide:

          The University has an obligation and jurisdiction to conduct at least a preliminary
          inquiry to determine whether the conduct occurred in the context of, or had
          continuing effects on, a University program, activity or employment. § H.1.

IV.       The Relationship Between Plaintiff and Jane Roe

          51.          Plaintiff and Jane Roe became friends during the 2013-2014 academic year, when

Plaintiff was a sophomore and Jane Roe a first-year student.

          52.          One night during the Spring 2014 semester, Jane Roe attended a party at Plaintiff’s

off-campus residence, where both of them were drinking a fair amount and were tipsy. The party

progressed late into the night and Plaintiff’s housemates started going to bed. Plaintiff and Jane

Roe began kissing and then moved into his bedroom where they continued to kiss. The two moved

to his bed and began to playfully wrestle during which Plaintiff pinned Jane Roe’s arms over her

head. During this interaction, Plaintiff moved his hand down Jane Roe’s body towards her genitals


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when Jane Roe said “no.” Plaintiff respected Jane Roe’s wishes and stopped the interaction. The

two continued to kiss and talk for the rest of the night. Jane Roe slept over Plaintiff’s house and

left at approximately 6:00 a.m.

          53.          During the remainder of the Spring 2014 semester, and into the summer, the two

would frequently “make out.” Often times, either Jane Roe or Plaintiff would progress the

interaction towards genital contact and then they would stop the interaction at that point. Plaintiff

and Jane Roe continued to have a friendship over the course of the next year and a half and also

continued to make out. Jane Roe told people in their circle of friends that she was in love with

Plaintiff.

          54.          In July 2015, the Plaintiff and Jane Roe briefly engaged in sexual intercourse—

initiated by Jane Roe—which Plaintiff stopped because he felt guilty about cheating on his

girlfriend at the time, who was also Jane Roe’s close friend. The two spoke about the encounter

the next day and Plaintiff was shocked because Jane Roe claimed not to remember the encounter.

During their time together the night before, Plaintiff saw no indication that Jane Roe was

intoxicated—he was familiar with the signs because he had spent many nights during their

friendship caring for her when she was drunk.

          55.          Plaintiff and Jane Roe then had an hour-long discussion about what happened,

including about Plaintiff’s relationship with his girlfriend. Plaintiff encouraged Jane Roe to take

Plan B as a precaution, even though the intercourse had been interrupted. After this conversation,

Jane Roe stopped speaking to Plaintiff and his girlfriend. Plaintiff assumed it was because she was

upset about losing her close friend as a result of their decision to engage in sexual intercourse.




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          56.          Plaintiff did not hear from Jane Roe again until January 18, 2016 when she asked

to meet with him. At the meeting, Jane Roe accused Plaintiff of rape, referring to their July 2015

encounter. Plaintiff was shocked and concerned. He went home and told his friend, “W8,” about

the meeting. W8 expressed shock and disbelief.

V.        Jane Roe’s University Complaint Against Plaintiff

          A. The OIEC Investigation

          57.          On or about January 20, 2016, Jane Roe filed a report with the BPD, which

commenced a criminal investigation into Jane Roe’s allegations that she was sexually assaulted in

July 2015 and that, in Spring 2014, Plaintiff touched her genitals without her consent.8

          58.          On January 20, 2016, the OIEC received a call from a CU Boulder employee stating

that Jane Roe had filed a complaint with BPD against Plaintiff.

          59.          On or about January 20, 2016, OIEC assigned Lauren Hasselbacher

(“Hasselbacher”) to investigate Jane Roe’s allegations against Plaintiff. Hasselbacher had a

conflict of interest because her job included ensuring that CU Boulder’s policies and procedures

complied with Title IX. She also worked closely with CU Boulder’s Office of Victim Assistance.

Hasselbacher, further, has a background in women’s studies, extensive experience as an advocate

for women who have experienced domestic violence and sexual assault and also worked as a civil

rights lawyer prior to joining CU Boulder.




8
 The criminal case against Mr. Norris was ultimately prosecuted and—after a six-day jury trial which concluded on
October 19, 2017—the jury fully exonerated Mr. Norris, finding him not guilty of all charges.


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          60.          OIEC also assigned Tessa Walker (“Walker”) to investigate Jane Roe’s allegations

against Plaintiff. Upon information and belief, Walker lacked experience with both Title IX and

as an investigator, having worked only as a judicial law clerk prior to joining CU Boulder.

          61.          Hasselbacher and Walker were charged with determining which evidence was

relevant to Jane Roe’s allegations, evaluating that evidence under the preponderance of the

evidence standard, and determining whether Plaintiff violated the 2013-2014 Student Conduct

Codes.

          62.          On January 21, 2016, Walker emailed Jane Roe and let her know that there were

“no time limits on our side, so if at any point you would like to speak with me about the incident,

I am available to meet or speak to you by phone.” The email further informed Jane Roe that her

participation in the process was optional and provided her with options for “advocacy and

support.”

          63.          On January 26, 2016, BPD detective Beckjord notified Hasselbacher and Walker

of the date and time for Jane Roe’s interview. Beckjord welcomed them to observe the interview

in real time. In response, Hasselbacher and Walker confirmed that they would both attend the

interview, to which Beckjord responded “look forward to working with you,” blurring the line

between criminal investigation and college disciplinary process.

          64.          Upon information and belief, on or about January 26, 2018, Detective Beckjord

requested that OIEC refrain from serving a Notice of Investigation on Plaintiff until after he was

interviewed by BPD. OIEC agreed to this request.

          65.          On January 27, 2016, BPD interviewed Jane Roe. Hasselbacher and Walker

observed her interview.


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          66.          On January 28, 2016, Plaintiff voluntarily appeared for a BPD interview with

Detective Beckjord. Hasselbacher and Walker declined Beckjord’s invitation to observe Plaintiff’s

interview at that time.

          67.          After Plaintiff’s BPD interview, on January 28, 2016, OIEC sent Plaintiff a Notice

of Investigation, notifying him that “you may have violated the University of Colorado Boulder

2013-2014 Student Code of Conduct and/or the Sexual Misconduct Policy described in the 2015-

2016 OIEC Process and Procedures.”

          68.          Per the Notice, Jane Roe’s allegation that Plaintiff touched her genitals without her

consent during the spring semester of 2014 were “being investigated under the Student Conduct

Code, 2013-2014.”

          69.          Per the Notice, Jane Roe’s allegation that Plaintiff sexually assaulted her in July

2015 was “being investigation [sic] under the 2015-2016 OIEC Process and Procedures.” The

sexual assault allegation is not at issue in this action because CU Boulder found Plaintiff “not

responsible” with respect to this allegation.

          70.          The Notice further advised “if you do not respond to this notice as directed, our

office is authorized to make conclusions without your participation.” The Notice gave Plaintiff

two business days to find an advisor and to call and schedule a meeting with Hasselbacher and/or

Walker. In contrast, Jane Roe was informed by investigators that her participation was optional

and that she could confer with investigators at any time that was convenient for her.

          71.          On January 29, 2016, Jane Roe called a meeting with all of her and Plaintiff’s

mutual friends, some of whom were named as witnesses in both the OIEC and BPD investigations.

At the meeting, Jane Roe told their friends her account of what allegedly happened between her


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and Plaintiff in Spring 2014 and July 2015, effectively tainting any recollection those individuals

may have had about the events in question.

          72.          On February 3, 2016, Plaintiff met with Hasselbacher and Walker to address Jane

Roe’s allegations and gave his account of his sexual encounter with Jane Roe in Spring 2014. His

mother attended the meeting as his advisor.

          73.          On February 8, 2016, Hasselbacher and Walker interviewed “W1” about the Spring

2014 allegation. Hasselbacher and also reviewed W1’s statements to BPD.

          74.          On February 9, 2016, Hasselbacher and Walker interviewed “W2” about the Spring

2014 allegation.9 Hasselbacher and Walker also reviewed W2’s statements to BPD.

          75.          On February 15, 2016, Hasselbacher and Walker interviewed “W9” about the

Spring 2014 allegation. Hasselbacher and Walker also reviewed W9’s statements to BPD.

          76.          On February 22, 2016, Plaintiff emailed OIEC and requested access to the

investigative file. His request was denied.

          77.          On February 23, 2016, Plaintiff again emailed OIEC and informed them that he

would like to review the investigators’ summary of his interview prior the issuance of any finding.

He also asked that a copy be provided to his advisor. OIEC responded that it would inform Plaintiff

when the fact gathering portion of the investigation was completed and stated that the office could

not provide electronic copies of the investigation documents. Plaintiff was informed that he could

review his statement in person at the OIEC office.




9
  W2 was treated as a key witness by Hasselbacher and Walker. Subsequent to Mr. Norris’ suspension from CU
Boulder, W2 apologized to Mr. Norris, admitted that she overreacted to Jane Roe’s allegations and refused to further
participate in any proceedings against Mr. Norris, stating she should not have been a part of the investigation in the
first place.

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          78.          On February 25, 2016, Plaintiff requested a time to appear at the OIEC office to

review his statement.

          79.          On March 1, 2016, Hasselbacher and Walker met with Jane Roe to ask her follow

up questions about her OIEC interview, as well as additional information obtained during the

course of the investigation.

          80.          On March 18, 2016, OIEC notified Plaintiff that he would be permitted to review

the investigative file during the following week.

          81.          On March 21, 2016, BPD interviewed Jane Roe for a second time.

          82.          On March 21, 2016, Hasselbacher and Walker emailed Plaintiff to notify him that,

on March 28, 2016, he would be allotted only two hours to review the investigative file. They also

wanted to ask him follow-up questions after his review. They further informed him that they were

drafting a written evidence summary to be issued the following week.

          83.          On March 22, 2016 Plaintiff emailed the investigators to inform them that he

believed that the process was unbalanced and unfair, particularly since they planned to issue the

written evidence summary prior to his review of the investigative file and response to any follow

up questions. Plaintiff asked for the investigators’ follow-up questions to be provided in advance.

          84.          On March 24, 2016, Hasselbacher and Walker viewed Plaintiff’s recorded BPD

interview, taken on January 28, 2016.

          85.          On March 28, 2016, Plaintiff’s counsel requested an opportunity to review the file

during the first week in April. The OIEC then requested additional time to schedule the file review

because then-Vice President Joe Biden was visiting the University on April 5-8.




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          86.          On April 1, 2016, prior to Plaintiff’s review of the investigation file, or answering

any follow-up questions, Hasselbacher and Walker issued the written evidence summary. Plaintiff

had only 7 days to review and respond to the written evidence summary even though he had not

been granted access to the investigative file due to Vice President Biden’s visit.

          87.          On April 1, 2016, Hasselbacher and Walker emailed the written evidence summary

to Jane Roe, informing her that she should not share the document with anyone other than her

advisor as sharing it with any witnesses or participants in the investigation could be viewed as

retaliatory.

          88.          On April 7, 2016, Jane Roe provided the written evidence summary to BPD, in

violation of the investigators’ directive. No action was taken by OIEC in this regard.

          89.          On April 8, 2016 Vice President Biden delivered a speech to the CU Boulder

campus as part of the “It’s On Us Week of Action.” Ahead of the event, Chancellor DiStefano and

OIEC/Title IX Director Simons appeared in an “It’s On Us” video to support the Vice President’s

visit. Biden’s speech focused on female sexual assault victims. See also supra ¶¶ 36-37.

          90.          On April 9, 2016, OIEC informed Plaintiff that he could review the investigative

file on April 13, 2016. Plaintiff and his attorney conducted the file review but were limited to two

hours. At all times an OIEC administrator was present during the file review, preventing Plaintiff

from discussing the file contents with his attorney. Plaintiff and his attorney were also prohibited

from making copies of any documents in the file.

          91.          On April 18, 2016, BPD issued a second report concerning the investigation.

          92.          On April 27, 2016, Hasselbacher and Walker emailed three questions to Plaintiff

which were unrelated to the Spring 2014 allegation.


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          93.          On May 2, 2016, Hasselbacher and Walker issued an amended written evidence

summary. At that point, Plaintiff had only been given two hours to review the investigative file.

          94.          On May 5, 2016, Plaintiff’s counsel objected to the OIEC investigation.

          95.          On May 6, 2016, Plaintiff and his attorney conducted a second investigative file

review which was again limited to two hours. Again, an OIEC administrator was present during

the review, preventing Plaintiff and his attorney from discussing the file.

          96.          On June 13, 2016, Hasselbacher emailed Plaintiff and informed him that, on the

next day, the final investigative report would be reviewed by the “Standing Review Committee.”

Plaintiff was provided with no further information about the Committee.

          97.          On June 14, 2016 the Standing Review Committee purportedly reviewed the

evidence file and the 55-page Confidential Final Report and approved the finding, taking less than

a full day to do so. The Confidential Final Report was issued the same day. The Committee review

was no more than a rubber stamp, as opposed to the thorough review required by both the Student

Conduct Code and 2015-2016 OIEC Process and Procedures.

          98.          Upon information and belief, the members of the Standing Review Committee who

were assigned to Plaintiff’s case did not receive “appropriate training,” as required under both the

Student Conduct Code and 2015-2016 OIEC Process and Procedures.

          B. The Erroneous Finding

          99.          The Confidential Final Report contained Hasselbacher’s and Walker’s subjective

summary of the evidence they reviewed concerning Jane Roe’s Spring 2014 allegation and their

finding with respect to whether Plaintiff violated the 2013-2014 Student Conduct Code. Per the

Confidential Report:


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          Based on a review of the totality of the information gathered through this
          investigation and based on a preponderance of the information standard, the OIEC
          finds that Respondent violated provision F.4 Sexual Misconduct b) Non-consensual
          sexual contact of the 2014-2015 Student Code of Conduct. (emphasis added).

The investigators’ carelessness is evidenced by their reference to the wrong Student Conduct Code

when finding Plaintiff responsible for non-consensual contact—he was “charged” under the 2013-

2014 Student Conduct Code.

          100.         There was also insufficient evidence to support the finding—whether under the

2013-2014 Student Conduct Code’s “preponderance of the information” standard or the 2015-

2016 OIEC Process and Procedures’ “preponderance of the evidence” standard.




                       1. The OIEC Investigators’ Inaccurate Credibility Assessment

          101.         Per the Confidential Final Report, the investigators found Plaintiff responsible

because they believed that Jane Roe was more credible. The investigators incorrectly assessed Jane

Roe as making consistent statements about the Spring 2014 allegation. They also incorrectly

determined that Plaintiff made inconsistent statements.

          102.         The evidence gathered by Walker and Hasselbacher demonstrated that Jane Roe

provided inconsistent accounts of what happened to the BPD versus OIEC. At no point was she

able to provide a clear account of what happened. Most significant was Jane Roe’s inability to

recall how the alleged incident ended. Hasselbacher and Walker did not ever ask the Complainant

to give them her account of the Spring 2014 encounter. They instead asked her to respond to

Plaintiff’s statement.



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          103.         Per the evidence cited in the Confidential Final Report, Jane Roe made inconsistent

statements about:

             i.        Where she was prior to attending the party where she met up with Plaintiff on the
                       night in question.

            ii.        The conversation, if any that she had with Plaintiff before they engaged in
                       consensual kissing.

           iii.        Her state of undress.

           iv.         What exactly occurred after consensual kissing: Jane Roe first told BPD
                       investigators that Plaintiff pinned her down and stuck his hand down her pants. Later
                       in the same interview she said she could not remember if Plaintiff made contact with
                       her intimate parts. She confirmed this in the second BPD interview. It was not until
                       she was prompted by the BPD investigator, who asked her leading questions, that
                       Jane Roe stated that Plaintiff touched her private parts. The Confidential Final
                       Report fails to mention this, instead juxtaposing two contradictory statements from
                       Jane Roe’s second interview: i) “I asked [Complainant] if [Respondent] touched her
                       intimate parts. She said she could not remember how far he got;” and ii) “[s]he
                       remembered his hand under her underwear.” Jane Roe’s latter, contradictory
                       statement should not have been considered by the OIEC investigators. They did
                       nothing to clarify Jane Roe’s misstatements.

            v.         Jane Roe told the BPD during her first interview that she used a martial arts
                       maneuver to try to free her hands after Plaintiff allegedly pinned them over her head.
                       She could not, however, remember how the alleged incident ended. In the second
                       BPD interview she made no mention of the maneuver but stated that she did not
                       remember how she got out of the situation. Jane Roe told the OIEC that she was
                       quiet during the incident but then described fighting Plaintiff off and breaking his
                       hold on her arms.

                       No statement made by Jane Roe in any context provided a consistent account about
                       what happened after Plaintiff allegedly pinned her down. In one instance, she did
                       not remember what happened in Spring 2014 and surmised that Plaintiff became
                       disinterested and released his alleged hold on her arms. In the other, Jane Roe
                       described various scenarios, including the use of martial arts, in which she allegedly
                       fought off Plaintiff. These scenarios completely contradict one another and should
                       have led to a finding that Jane Roe’s account of what happened in the Spring of 2014
                       was not credible.

           vi.         Whether Jane Roe spoke with Mr. Norris about the Spring 2014 incident.

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          vii.         Whom she spoke to about the alleged incident: In her January 27, 2016 interview
                       with the BPD, Jane Roe stated that she kept the incident quiet and did not report it
                       to law enforcement. She later stated in the same interview that on the night in
                       question she immediately phoned her friend, “JG.” OIEC investigators observed
                       this interview, but never questioned JG. Nor did they seek Jane Roe’s phone
                       records, to verify the time and date of the purported call to JG and to pin down the
                       date of the alleged event. In subsequent statements to BPD, Jane Roe gave
                       additional details about the conversation she purportedly had with JG on the night
                       of the alleged incident with Plaintiff. 10

                       After the first BPD interview in which Jane Roe stated that she called JG, Jane Roe
                       was interviewed by OIEC investigators. She did not mention JG. Instead, she told
                       OIEC investigators that, months later, she told her friend, W1, about the alleged
                       incident. The OIEC investigators never questioned Jane Roe about the discrepancy
                       in her account to BPD versus OIEC, or why she did not tell them about JG. The
                       OIEC investigators also never noted, or followed up on, the fact that during her
                       second interview with BPD Jane Roe said that the only person she told about the
                       Spring 2014 allegation was W1. This was inconsistent with her first BPD interview
                       in which she stated that she only told JG.

          104.         There were significant inconsistencies in the accounts told by the witnesses who

were interviewed by Walker and Hasselbacher.11 Rather than viewing these inconsistencies as

undermining the Jane Roe’s credibility, Walker and Hasselbacher “resolved” them by permitting

Jane Roe to explain them away:

             i.        W1’s account conflicted with Jane Roe’s statements and made little sense. Per the
                       Confidential Final Report, W1 told the OIEC investigators that Roe told W1 that
                       Plaintiff assaulted her every time she was drunk. W1 could not remember the
                       specifics of what Jane Roe actually said other than the fact that she told her it had
                       happened on multiple occasions. W1’s faulty recollection, alone, should have
                       discredited her as a witness. W1’s statement was also inconsistent with Jane Roe’s
                       statements to OIEC investigators and BPD because Jane Roe told the investigators
                       that Plaintiff had assaulted her only one time prior to the July 2015 incident. OIEC
                       investigators improperly looked to Jane Roe to resolve the discrepancy between
                       W1’s and her own account. When asked about W1’s statement, Roe dismissed it as

10
   At trial, when confronted with her phone records for that night, Jane Roe admitted that she never called and spoke
to JG about the alleged incident with Plaintiff.
11
   Notably, there were no immediate outcry witnesses.

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                       W1 being protective of her which “set the tone” for how W1 heard the conversation.
                       The OIEC investigators should not have relied on pure speculation to resolve the
                       significant discrepancy between W1’s and Jane Roe’s accounts of what Roe’s
                       “outcry” statement to W1 actually was.

                       With respect to the Spring 2014 allegation, W1 reported that Jane Roe told her that
                       she ran out of the room after the alleged incident. This contradicted Jane Roe’s
                       several accounts to BPD that she did not recall how the incident ended. Thus, the
                       credibility of W1’s statement concerning the alleged incident should have been
                       questioned by OIEC investigators—it was not.

            ii.        W212 told the OIEC investigators that she could not remember specifically what
                       Jane Roe told her about what happened in Spring 2014 and that the conversation
                       happened a long time ago. Yet somehow,13 W2 recalled Roe telling her that Plaintiff
                       tried to rip her pants down, and, in W2’s opinion, Roe “obviously” did not want
                       him to do that. W2 also told the OIEC investigators that Roe said she did not like
                       Plaintiff and that he was too aggressive and sexually forward. This flatly
                       contradicted Roe’s numerous statements that she was close friends with Plaintiff,
                       including for at least 18 months after the Spring 2014 incident. W2’s statement that
                       Plaintiff tried to rip Roe’s pants down also contradicts Roe’s unsupported allegation
                       that Plaintiff tried to put his hand down her pants.

                       The OIEC investigators should have discredited W2’s testimony. Instead, they
                       construed W2’s statements as facts supporting Roe’s account of what happened to
                       find that it was more likely than not that Roe’s “recollection of events occurred as
                       she asserted.”

           iii.        W9’s account of what Jane Roe told him about the Spring 2014 allegation was
                       inconsistent with Roe’s account to the BPD and OIEC investigators. W9 also made
                       inconsistent statements of his own to the BPD and OIEC investigators, directly
                       contradicting the OIEC investigators’ conclusion that W9 “provided materially
                       consistent information to the BPD. W9 told the OIEC that “W114 had previously
                       told him that Plaintiff had sexually assaulted her multiple times when he was
                       intoxicated.” (emphasis added). W9 previously told the BPD that Jane Roe told him


12
   At around the time that Plaintiff was suspended from CU Boulder, W2 apologized to Plaintiff, admitted that she
overreacted to Jane Roe’s allegations and refused to further participate in any proceedings against Plaintiff, stating
that she should not have been a part of the investigation in the first place.
13
   W2 was present at the meeting Jane Roe held with her and Plaintiff’s mutual friends to tell her version of what
allegedly happened. This meeting occurred before witness interviews took place.
14
   W1 and W9 were dating at the time.

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                       that, beginning in the Spring of 2014, Respondent “started to assault her. It
                       happened multiple times, pinned her down and forced her to kiss him, groped her.
                       And that [Complainant] had to, on multiple occasions, break away from that, get
                       away from him. She then told him no every single time.” W9’s account is entirely
                       inconsistent with Roe’s statements to the BPD and OIEC that only one incident
                       allegedly occurred in Spring 2014, that she was not sure how the Spring 2014
                       encounter ended, that she and Plaintiff were good friends for at least 18 months
                       after the alleged incident, and that she was in love with Plaintiff.

          105.         In contrast to the purported “consistency” in Jane Roe’s statements, Hasselbacher

and Walker erroneously concluded that Plaintiff’s statements to the BPD on January 28, 2016 were

inconsistent with statements made in his OIEC interview, which was conducted on February 3,

2016. Hasselbacher and Walker found that these fabricated inconsistencies undermined Plaintiff’s

credibility.

          106.         According to the Confidential Final Report, Plaintiff’s credibility was undermined

by the fact that he “told BPD that he did not know what Complainant was referring to” and “in

meeting with the OIEC…[he] stated he knew which encounter Complainant was referring to and

that he remembered ‘exactly what happened.’”

          107.         The investigators ignored that, at the time of the BPD interview, Plaintiff had not

yet received the Notice of Investigation; consequently, he was not aware of what Jane Roe actually

alleged, or the relevant timeframe, until after he received the Notice.

          108.         They further ignored that, during the earlier BPD interview, Detective Beckjord

asked Plaintiff to answer questions about the Spring 2014 incident which had no factual basis. The

allegations Beckjord stated during the interview resembled no encounter that had ever occurred

between Plaintiff and Jane Roe—or that Jane Roe had even described to the detective prior to




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Plaintiff’s interview—and Plaintiff accurately answered that he had no knowledge of such an

encounter.

          109.         BPD presented Plaintiff with a false account of the Spring 2014 allegation and

Plaintiff appropriately—and credibly—denied that it ever happened. Upon information and belief,

Hasselbacher and Walker failed to carefully review the BPD interview with Mr. Norris and, as a

result, they mischaracterized his statements to the BPD to fit their preconceived hypothesis that he

lacked credibility.

          110.         Subsequent to his interview with BPD, Plaintiff received the OIEC’s Notice of

Investigation,15 which provided him with a date reference for the alleged occurrence, and a

description of the event, which excluded any reference to the false version of events that Beckjord

presented to Plaintiff. When interviewed by Hasselbacher and Walker on February 3, 2016,

Plaintiff was able to provide a detailed account of his Spring 2014 encounter with Jane Roe because

he was now aware of the relevant timeframe and was able to recall the event.

          111.         The Confidential Final Report also supports the credibility of Plaintiff’s prior

statement to the BPD. During his interview on February 3rd, Plaintiff told Hasselbacher and Walker

that the BPD provided him with a differing, and incorrect, account of the Spring 2014 allegations:

“Respondent stated that he was confronted by police about the assault charge, and there were

details that Complainant provided to police that were not true. Respondent said that Complainant

stated to the police that she had kicked him off of her and ran out of the room, which is ‘absolutely



15
   Detective Beckjord of BPD asked the OIEC investigators not to provide the Notice of Investigation to Plaintiff until
after his BPD interview. They complied with his request. OIEC’s withholding of information concerning the
allegations against him, coupled with Detective Beckjord’s gross mischaracterization of Jane Roe’s actual allegations
when questioning Plaintiff is what caused Plaintiff’s initial confusion about the alleged incident. This is an egregious
example of OIEC and BPD conspiring together to achieve predetermined results in their investigation.

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untrue.’” Thus, Mr. Norris was consistent in his account, despite being subjected to inconsistent,

and inaccurate, lines of questioning.

          112.         On the record, Jane Roe’s account of what happened—to investigators and

witnesses alike—was vague, contradictory and inconsistent and certainly did not support a

violation of the Student Conduct Code.

          113.         Hasselbacher and Walker ignored glaring errors, inconsistencies and faulty

memories to piece together a version of facts that favored Jane Roe. They further permitted Roe

to clear up consistencies in witness statements so that they could patch together a “consistent”

theory of what occurred.

          114.         Given that CU Boulder was under OCR investigation at the time of the

investigation, was under the scrutiny of Vice President Biden and had been widely criticized for

not protecting female sexual assault victims, Hasselbacher and Walker were, upon information and

belief, under pressure to ensure that Plaintiff be found responsible for violating the Student

Conduct Code, in order to appease Jane Roe and maintain CU Boulder’s public commitment to

protecting female victims of sexual assault.

          115.         Hasselbacher and Walker did not question Jane Roe’s credibility because, upon

information and belief, CU Boulder trained them to take a trauma-informed approach in which

female complainants are presumed to be telling the truth and difficult or sensitive questions are

avoided.

          116.         Upon information and belief, Ms. Hasselbacher’s past experience as a women’s

advocate caused her to view the evidence through a gender-biased lens. It is also highly probable




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that as senior investigator, Hasselbacher swayed the inexperienced Walker to see things her way,

at Plaintiff’s expense.

                       2. The OIEC Investigators’ Misstatements of Fact

          117.         Hasselbacher’s and Walker’s finding that Mr. Norris was responsible for non-

consensual sexual contact under the 2013-2014 Student Conduct Code was grounded in several

misstatements of fact:

             i.        The investigators found that Plaintiff “opened” and “unbuttoned” Jane Roe’s pants
                       and touched her genital area. However, in Jane Roe’s January 27, 2016 BPD
                       interview—observed by Hasselbacher and Walker—she stated that she did not
                       believe Plaintiff unbuttoned her jeans. The Confidential Final Report states that
                       Jane Roe did not remember if Plaintiff successfully unbuttoned her pants, only that
                       he attempted to do so.

            ii.        The investigators found that Plaintiff touched Jane Roe’s genital area under her
                       underwear with his hand. However, Jane Roe did not recall if Plaintiff made contact
                       with her genitals.

            iii.       The investigators found that Jane Roe physically resisted Plaintiff. Jane Roe
                       reported in her January 27, 2016 BPD interview that she did not say anything to
                       him. She also stated that she did not remember how she was able to remove herself
                       from the situation and that she didn’t know if Plaintiff just became disinterested.

          iv.          The investigators found that Plaintiff was too intoxicated to be fully aware of Jane
                       Roe’s resistance or the extent of force he was using. There was no evidence that
                       Plaintiff was too intoxicated to be aware of what was happening. On the contrary,
                       Jane Roe reported that she and Plaintiff were having a heart to heart conversation
                       moments before the alleged incident.16

          118.         Jane Roe’s account of the events surrounding the Spring 2014 allegation contradicts

the factual “findings” made by Hasselbacher and Walker. There was simply no rational basis for




16
  In statements that post-date the OIEC investigation, Jane Roe reported that Plaintiff was communicating clearly
with her just moments before their encounter.

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the investigators to conclude that it was more likely than not that non-consensual sexual contact

occurred under the Student Conduct Code.

          119.         On June 13, 2016, Hasselbacher and Walker emailed a Notice of Finding to

Plaintiff. Like the Confidential Final Report, the Notice referred to the incorrect Student Conduct

Code, stating that Plaintiff was found responsible for non-consensual sexual contact under the

“2014-2015 Student Code of Conduct.” The Notice also stated “[t]he findings have been reviewed

and approved by a review committee.”

          120.         The Notice of Finding informed Plaintiff that CU Boulder’s Title IX Coordinator

and Executive Director, Simons, would determine the sanction.

          C. The Unwarranted and Severely Disproportionate Sanction

          121.         On June 30, 2016, Simons emailed Plaintiff a Notice of Sanction, which again

referenced the wrong Student Code of Conduct—indicating that Simons was unaware of which

Code applied because she failed to conduct an adequate review “of the investigative report and all

relevant information available to [her]” as stated in the Notice of Sanction.

          122.         Simons was solely responsible for determining the sanction.

          123.         In her role as the OIEC’s Executive Director and CU Boulder’s Title IX

Coordinator, Simons had a conflict of interest which should have precluded her from deciding

Plaintiff’s case or any other sexual misconduct case. Simons’ responsibilities included ensuring

CU Boulder’s compliance with Title IX, and she worked closely with the OCR during the course

of its investigation of the University’s failure to take action to support female sexual assault

victims. Simons was a public voice against sexual assault, handpicked by Chancellor DiStefano in

response to the OCR investigation. Simons participated in the “It’s On Us” video for Vice


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President Biden’s visit during the time in which Jane Roe’s complaint was investigated. She was

also responsible for compiling statistics for sexual misconduct complaints, including examples of

the sanctions issued, and reporting to Chancellor DiStefano. These responsibilities gave rise to a

potential for bias in determining the sanction in Plaintiff’s case.

          124.         The OCR warned against conflicts of interest in the April 2011 Dear Colleague

Letter “Title IX Coordinators should not have other job responsibilities that may create a conflict

of interest. For example, serving as the Title IX coordinator and a disciplinary hearing board

member or general counsel may create a conflict of interest.” DCL at 7. Simons was akin to a

disciplinary hearing board member because she was responsible for determining the outcome of

Plaintiff’s case.

          125.         Simons also publicly supported women’s advocacy groups during the timeframe in

which Jane Roe’s allegations against Plaintiff were investigated. For example, she gave a Title IX

presentation for the American Association of University Women, an organization which “advances

equity for women and girls through advocacy.” Upon information and belief, Simons’ work as an

education attorney prior to joining CU Boulder primarily involved advocacy for female students.

Upon information and belief, Simons background as a civil rights attorney also caused her to take

an adversarial rather than inquisitorial view of CU Boulder’s sexual misconduct process.

          126.         As a result, Simons issued an unwarranted and unduly severe sanction which: i)

suspended Plaintiff for 18 months; ii) banned Plaintiff from campus; iii) required him to undergo

“an evaluation and treatment from a licensed sex offender provider;” iv) required proof of any

court-ordered or other sanctions; v) required that any application for readmission be personally

approved by Simons; and vi) contained a no contact order prohibiting contact with Jane Roe.


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          127.         The Notice of Sanction did not notify Plaintiff of any right to appeal, even though

the Student Conduct Code permitted an appeal or the right to seek an appeal. Code, § K. The 2015-

2016 OIEC Procedures, which were improperly applied to Plaintiff’s case, did not permit an appeal

in sexual misconduct cases even though appeals were allowed in cases involving other violations.

          128.         On August 18, 2016, Plaintiff submitted a Statement of Appeal on the grounds that:

i) the established procedures were not followed in a significant way and, as a result, the factual

findings and the sanction, were not correct and ii) the severity of the sanction was not appropriate

based on the circumstances.

          129.         On August 31, 2016, Simons notified Plaintiff that she would be conducting an

“administrative review” of Plaintiff’s appeal pursuant to the 2016-2017 OIEC Process and

Procedures. She further stated that she would singularly conduct a “preliminary inquiry” into

Plaintiff’s allegations of gender bias as if he had lodged a University complaint.

          130.         Had the appeal been granted pursuant to the Student Conduct Code applicable to

the Spring 2014 allegation, then it would have been reviewed by an appeal committee rather than

once again facing Simon’s singular scrutiny.

          131.         Had Plaintiff been accused of any violation other than sexual misconduct he would

also have had a right to an appeal, which would have been reviewed by an appeal committee under

subsequent versions of the Student Conduct Code.

          D. The Sham Administrative Review

          132.         In Plaintiff’s case, Simons was responsible for issuing the sanction based on the

Confidential Final Report and finding. She then tasked herself with conducting an “administrative

review” of her own decision, raising serious questions about the fairness and impartiality of CU


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Boulder’s sexual misconduct process. As set forth supra Paragraphs 123-125, Simons had a

conflict of interest as a decisionmaker in Plaintiff’s case and was also, potentially, gender biased.

The administrative review was a sham process. Moreover, only 3 people in total—Hasselbacher,

Walker and Simons—were responsible for investigating and “adjudicating” the Spring 2014

allegation.

          133.         Simons denied Plaintiff’s appeal and failed to reverse the sanctions that she issued

against him. The letter explaining the purported grounds for her decision demonstrated a

misapprehension of the evidence in question, the procedures employed and meant to be employed,

and bias in assuming that Plaintiff was less credible. For example:

             i.        Simons found that Hasselbacher and Walker were correct in finding that Plaintiff
                       provided inconsistent accounts of what happened because there were “enough
                       similarities in the lines of questioning” between the BPD and OIEC interviews that
                       Plaintiff should have known what the allegations were. This ignored that the
                       allegations Detective Beckjord presented to Plaintiff were fabricated and reflected
                       no encounter that actually occurred between Plaintiff and Jane Roe at any point in
                       time. While Simons seemed to criticize Plaintiff for “adamantly denying” the
                       occurrence of the events presented by BPD, those allegations were simply
                       inaccurate and Plaintiff appropriately denied them. At his OIEC interview, Plaintiff
                       told Hasselbacher and Walker that BPD had presented him with inaccurate
                       information but that he could speak to the allegations posed in the OIEC Notice of
                       Investigation: “Respondent stated that he was confronted by police about the assault
                       charge, and there were details that Complainant provided to police that were not
                       true. Respondent said that Complainant stated to the police that she had kicked him
                       off of her and ran out of the room, which is ‘absolutely untrue.’” Plaintiff then
                       proceeded to relay his account of the Spring 2014 encounter with Jane Roe.

            ii.        In response to Plaintiff’s assertion that the OIEC misapplied the 2015-2016 OIEC
                       Process and Procedures to his case—rather than the 2013-2014 Student Conduct
                       Code—Simons stated a rule that does not appear in either the Code or the Process
                       and Procedures. Per Simons:

                          the procedural standards must necessarily be the ones currently in
                          place…particularly as procedures are modified yearly to reflect
                          evolving best practices and federal law. It is similar to a court setting
                          where on must look to statutes or caselaw to determine if activity is

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                          illegal in a civil or criminal context, but must look to the current rules
                          of civil or criminal procedure to determine the process through which
                          that determination is made.

                       Simons’ explanation was patently false. The 2015-2016 OIEC Process and
                       Procedures made no distinction between substantive policy definitions versus
                       procedural rules, simply stating “the date of the alleged incident will determine
                       which Process and Procedures (or applicable Student Code of Conduct) will apply.”
                       § C.2. Moreover, the 2015-2016 OIEC Process and Procedures—which denied
                       respondents the right to an appeal—did not reflect best practices or federal law. The
                       April 2011 Dear Colleague Letter recommended that universities have an appeal
                       process in sexual misconduct cases, as did the 2014 Guidance.

           iii.        With respect to the investigators’ failure to account for Jane Roe’s delay of nearly
                       two years before making a report concerning the Spring 2014 allegation when
                       assessing credibility, Simons pointed to Jane Roe’s description to BPD of the
                       situation as “freaky because [Plaintiff] was so drunk at the time”17 and “it was
                       painful for her to relive the emotions of that night.” Simons then relied on the
                       OCR’s 2014 Guidance which states “[s]chools should be mindful that traumatic
                       events such as sexual violence can result in delayed decisionmaking by a student
                       who has experienced sexual violence.” E-2 at p. 22. This language does not
                       suggest—as misinterpreted by Simons—that all complainants who delay reporting
                       are credible or that a delay cannot be considered in evaluating the merits of a
                       complaint.

                       Nor did Simons account for the fact that, per the 2013-2014 Student Conduct Code
                       “[a]n unreasonable delay in reporting…is an appropriate consideration in
                       evaluating the merits of a complaint.” Simons’ presumption that Jane Roe was
                       credible because she was traumatized, i.e. a trauma-informed approach, was an
                       indicator of gender bias in her review.

           iv.         Simons dismissed Plaintiff’s assertion that the Standing Review Committee rubber
                       stamped the Confidential Final Report, despite her acknowledgment that the
                       Committee spent less than one day with the 55-page report. Simons provided no
                       information about the members of the Committee or the training that they received.

            v.         Simons relied on the purported similarities in Jane Roe’s and Plaintiff’s account of
                       what happened in Spring 2014, to uphold the investigators’ finding, ignoring that
                       Jane Roe did not provide a consistent account of whether or not non-consensual
                       sexual contact occurred or whether Plaintiff touched her genitals. The interview
                       relied upon by Simons in concluding that non-consensual sexual contact occurred

17
   Jane Roe later contradicted this statement by telling investigators that she and Plaintiff engaged in a coherent heart
to heart discussion prior to their sexual encounter.

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                       was fraught with contradictions as to what occurred. She was also asked leading
                       questions by the BPD investigator, which was ignored.

          134.         CU Boulder’s policies and procedures as misapplied by Hasselbacher and Walker,

and justified by Simons, denied Plaintiff his right to a fair and impartial process. The conflicting

and inconsistent evidence gathered did not support a finding of responsibility with respect to the

Spring 2014 allegation, nor was the sanction issued by Simons proportional to the offense allegedly

committed.

          135.         Hasselbacher and Simons had conflicts of interest which should have precluded

them from participating in Plaintiff’s case as decisionmakers. Each also had backgrounds as

women’s advocates.

          136.         Upon information and belief, Walker lacked the requisite experience to conduct a

fair and impartial investigation into the Spring 2014 allegations.

          137.         Upon information and belief, CU Boulder trains Title IX personnel to adopt a

trauma-informed approach, which presumes that female complainants always tell the truth,

discourages investigators from asking questions directly relating to complainant credibility and

presumes that male respondents are typically the sexual aggressors in sexual interactions between

students.

          138.         The Standing Review Committee failed to conduct a fair and impartial review of

the Confidential Final Report, as evidenced by the less than 24 hours it took for the Committee to

review the wealth of evidence in the investigative file and the 55-page report. Upon information

and belief, the Committee members who participated in Plaintiff’s case were not adequately

trained.



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          139.         Simons who had a vested interest in the outcome of Plaintiff’s case due to her

position as Title IX Coordinator, should not have been tasked with—and should not have

conducted—the administrative review because of the potential for bias. Simons also appointed

herself to conduct the administrative review, which was inherently biased because she was solely

responsible for determining the sanction in Plaintiff’s case and, thus, reviewed her own decision

for procedural errors and bias.

          140.         As a result of CU Boulder’s actions and omissions, Plaintiff suffered financial

harm, including a debt assessed against him by the federal government for his ROTC scholarship,

a significant delay in the completion and conferral of his undergraduate degree, a significant delay

in his career plans, and loss of opportunities with respect to his planned career. Plaintiff also

suffered emotional distress as a result of CU Boulder’s actions and omissions.

                                                    COUNT I
                         Violation of Title IX of the Education Amendments of 1972
                                             (Against CU Boulder)

          141.         Plaintiff repeats and re-alleges each and every allegation hereinabove as if fully set

forth herein.

          142.         Title IX of the Education Amendments of 1972 provides, in relevant part, that: “No

person in the United States shall, on the basis of sex, be excluded from participation in, be denied

the benefits of, or be subjected to discrimination under any education program or activity receiving

Federal financial assistance.”

          143.         Title IX of the Education Amendments of 1972 applies to all public and private

educational institutions that receive federal funding, which includes Defendant CU Boulder.



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          144.         CU Boulder is part of the University of Colorado system, with its principal

administrative offices in Denver, Colorado. CU Boulder is authorized, supervised and funded by

the State of Colorado pursuant to the Colorado Constitution and Title 23, Article 20 of the

Colorado Revised Statutes. In 2015 and 2016, CU Boulder received over $600 million in federal

grants and contracts.

          145.         Students attending public universities such as CU Boulder who have been accused

of sexual misconduct, have a right to due process under Title IX. See U.S. Dep’t of Education,

Office for Civil Rights, Revised Sexual Harassment Guidance: Harassment of Students by School

Employees, Other Students, or Third Parties -- Title IX (2001) at 22 (the “2001 OCR Guidance”);

April 2011 Dear Colleague Letter at 12.

          146.         Both the Department of Education and the Department of Justice have promulgated

regulations under Title IX that require a school to “adopt and publish grievance procedures

providing for the prompt and equitable resolution of student... complaints alleging any action

which would be prohibited by” Title IX or regulations thereunder. 34 C.F.R. § 106.8(b) (Dep’t of

Education); 28 C.F.R. § 54.135(b) (Dep’t of Justice) (emphasis added). Such prohibited actions

include all forms of sexual harassment, including sexual intercourse, sexual assault, and rape.18

          147.         The “prompt and equitable” procedures that a school must implement include, at a

minimum:

             i.   “Notice . . . of the procedure, including where complaints may be
          filed”;

           ii.   “Application of the procedure to complaints alleging [sexual]
          harassment...”;

18
   See generally U.S. Dep’t of Education, Office for Civil Rights, Revised Sexual Harassment Guidance: Harassment
of Students by School Employees, Other Students, or Third Parties -- Title IX (2001) at 19-20, 21 & nn. 98-101.

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             iii. “Adequate, reliable, and impartial investigation of complaints,
            including the opportunity to present witnesses and other evidence”;

             iv.    “Designated and reasonably prompt timeframes for the major stages
            of the complaint process”; and

              v.       “Notice to the parties of the outcome of the complaint......”19

            148.       Title IX Coordinators should not have a conflict of interest. “For example, serving

as Title IX coordinator and a disciplinary hearing board member may create a conflict of interest.”

April 2011 Dear Colleague Letter at 7; August 2015 Dear Colleague Letter at 2-3.

            149.       Title IX may be violated by a school’s imposition of university discipline where

gender is a motivating factor in the decision to discipline.

            150.       An “erroneous outcome” occurred in this case. Plaintiff was innocent and wrongly

found to have committed a violation of CU Boulder’s policies, and gender bias was a motivating

factor.

            151.       Based on the foregoing, CU Boulder failed to conduct an adequate, reliable, and

impartial investigation of Jane Roe’s complaint.

            152.       CU Boulder also denied Plaintiff’s right to due process by: i) misapplying the 2015-

2016 OIEC Procedures to the Spring 2014 allegation; ii) denying Plaintiff the right to ask questions

of Jane Roe or the witnesses in the case, to test credibility or for purposes of cross-examination;

iii) tasking investigators Hasselbacher and Walker with investigating the allegation and issuing the

finding; iv) failing to give Plaintiff adequate time to review the investigative file before issuing

the written evidence summaries; v) putting Plaintiff’s file review on hold during Vice President



19
     Id. at 20.

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Biden’s visit; vi) failing to adequately train the Standing Review Committee members; vii)

allowing the Standing Review Committee members to rubber stamp the Confidential Final Report;

tasking Title IX Coordinator Simons with issuing the sanction; viii) denying Plaintiff the right to

an appeal before the appeal committee (which would have been permitted under the 2013-2014

Student Conduct Code); and ix) permitting Simons to unilaterally conduct an “administrative

review” of her own sanction.

          153.         Students accused of far lesser violations than sexual misconduct were permitted to

submit written questions for witnesses, in some cases had a conduct hearing and had a right to

appeal a suspension or expulsion, which was reviewed by an appeal committee.

          154.         Particular circumstances suggest that gender bias was a motivating factor behind

the erroneous finding and the decision to impose an unjustly severe penalty upon Plaintiff. These

circumstances include, without limitation:

             i.        Beginning in 2013 and through the time when Jane Roe’s complaint was

                       investigated, CU Boulder was subject to immense federal, local and campus

                       pressure to take measures to protect female victims of sexual assault, adopt a

                       trauma-informed approach to investigating sexual misconduct complaints; and

                       issue more severe sanctions to those found responsible for sexual misconduct. Such

                       pressure included the ongoing OCR investigation, student outcry regarding

                       compliance with the White House’s Not Alone report, the public announcement that

                       OCR was investigating CU Boulder and President Biden’s visit to campus during

                       the investigation of the Spring 2014 allegation;




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            ii.        Upon information and belief, investigators Hasselbacher and Walker received

                       “trauma-informed investigation” training which perpetuated the idea that female

                       victims of sexual assault should never be questioned, that trauma excuses all

                       memory lapses and credibility issues and that complainants always tell the truth.

                       This approach caused Hasselbacher and Walker to overlook profound

                       inconsistencies in Jane Roe’s account of the Spring 2014 allegation and to fabricate

                       credibility issues in Plaintiff’s account;

           iii.        The evidence collected during the investigation did not support Jane Roe’s account

                       of non-consensual sexual contact. Rather, the evidence supported Plaintiff’s

                       account;

           iv.         Investigator Hasselbacher had a conflict of interest in her role because part of her

                       responsibilities within OIEC was to ensure CU Boulder’s compliance with Title

                       IX;

            v.         Investigator Hasselbacher had a lengthy career as a women’s advocate, working

                       with victims of domestic violence and sexual assault;

           vi.         Title IX Coordinator and OIEC Executive Director Simons, who was tasked with

                       issuing the sanction, had a conflict of interest in this role because she was

                       responsible for the University’s compliance with Title IX, involved in the OCR

                       investigation, and reported sanction statistics directly to Chancellor DiStefano.

          vii.         Prior to joining CU Boulder, Simons worked as an advocate for women’s rights as

                       an education and civil rights attorney, including with the Department of Justice.

                       While working as CU Boulder’s Title IX Coordinator, she gave at least one


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                       presentation on Title IX to the American Association of University Women.

                       Simons also appeared in It’s On Us videos during the time in which the Spring 2014

                       allegation was investigated; and

         viii.         As part of the sanction, Simons required Plaintiff to undergo an evaluation and

                       treatment by a licensed sex offender provider at his own cost.

          155.         Upon information and belief, Defendant CU Boulder has not modified its

disciplinary procedures under the present Trump Administration even though, on September 22,

2017, the OCR withdrew the April 2011 Dear Colleague Letter and “Questions and Answers on

Title IX and Sexual Violence,” dated April 29, 2014 on the ground that the April 2011 Dear

Colleague Letter placed “improper pressure upon universities” which resulted in the establishment

of procedures for resolving sexual misconduct allegations which “‘lack the most basic elements of

fairness and due process [and] are overwhelmingly stacked against the accused.” See https://ww

w2.ed.gov/about/offices/list/ocr/letters/colleague-title-ix-201709.pdf.

        156.           Upon information and belief, Defendant CU Boulder possesses communications

and documents evidencing a predisposition to favor female students alleging sexual misconduct

over male students who are accused of sexual misconduct.

          157.         Upon information and belief, Defendant CU Boulder has demonstrated a pattern of

inherent and systematic gender bias and discrimination against male students accused of sexual

misconduct.

          158.         Upon information and belief, Defendant CU Boulder’s mishandling of Jane Roe’s

Spring 2014 allegation was informed by internal institutional pressure as well as external pressure

from the United States Department of Education, under a threat of rescission of federal funds.


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          159.         Based on the foregoing, Plaintiff was subjected to a biased, prejudiced and unfair

process in violation of Title IX designed to find him, the male, responsible for sexual misconduct

and punished severely for it.

          160.         As a direct and proximate result of the above conduct, Plaintiff sustained damages

including, without limitation, emotional distress, psychological damages, loss of educational and

career opportunities, reputational damages, economic injuries and other direct and consequential

damages.

          161.         As a result of CU Boulder’s violation of Title IX, which resulted in an unduly severe

and unwarranted sanction which continues to injure Plaintiff’s reputation and right to continue his

education, an injunction should issue directing CU Boulder to (i) reverse the outcome and findings

regarding Jane Roe’s complaint; (ii) expunge Plaintiff’s disciplinary record; (iii) remove any

record of Plaintiff’s suspension from his education file; (iv) permanently destroy any record of

Jane Roe’s complaint; and (v) confer Plaintiff’s degree by applying existing credit hours that

Plaintiff accrued to cover the 6 elective credits that he was unable to complete as a result of his

wrongful suspension or, in the alternative, allow Plaintiff to return to CU Boulder at a time of his

choosing in order to complete the six credit hours remaining for receiving his degree without the

imposition of any conditions for readmission to the University.

          162.         As a result of the foregoing, Plaintiff is entitled to damages in an amount to be

determined at trial, plus prejudgment interest, attorneys’ fees, expenses, costs and disbursements.

                                                 COUNT II
                       42 U.S.C. §1983: Denial of Fourteenth Amendment Due Process
                                            (Against DiStefano)




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          163.         Plaintiff repeats and realleges each and every allegation hereinabove as if fully set

forth herein.

          164.         Chancellor DiStefano is the CU Boulder official charged with ensuring that student

education records, including transcripts, are disclosed to third-party requesters.

          165.         Upon information and belief, Chancellor DiStefano is also the CU Boulder official

responsible for the conferral of degrees to CU Boulder students.

          166.         Chancellor DiStefano was responsible for implementing the Student Conduct Code

and OIEC Policies and Procedures at issue in Plaintiff’s case.

          167.         Chancellor DiStefano was responsible for creating the OIEC and hiring Title IX

Coordinator and OIEC Executive Director Simons and overseeing her work in ensuring CU

Boulder’s compliance with Title IX. Simons reported directly to DiStefano, provided him with

statistics on sanctions issued for sexual misconduct violations at CU Boulder.

          168.         The Fourteenth Amendment to the United States Constitution provides that no state

shall “deprive any person of life, liberty, or property, without due process of law.” A similar right

is stated in the Fifth Amendment to the United States Constitution.

          169.         Section 1983 of Title 42 of the U.S. Code provides in pertinent part:

          Every person who, under color of any statute, ordinance, regulation, custom, or
          usage, of any State or Territory or the District of Columbia, subjects, or causes to
          be subjected, any citizen of the United States or other person within the jurisdiction
          thereof to the deprivation of any rights, privileges, or immunities secured by the
          Constitution and laws, shall be liable to the party injured in an action at law, suit in
          equity, or other proper proceeding for redress. . . .




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          170.         A person has a protected property interest in pursuing his education, as well as

in future educational and employment opportunities and occupational liberty, of which he cannot

be deprived without due process.

          171.         Plaintiff’s constitutionally protected property interest in his continued enrollment

at CU Boulder and to be free from arbitrary suspension and dismissal arises from the policies,

courses of conduct, practices and understandings established by CU Boulder.

          172.         Plaintiff’s constitutionally protected property interest further arises from the

express and implied contractual relationship between CU Boulder and Plaintiff.

          173.         It is well established that Fourteenth Amendment due process protections are

required in higher education disciplinary proceedings.

          174.         CU Boulder, a state university, is part of the University of Colorado system, with

its principal administrative offices in Denver, Colorado. CU Boulder is authorized, supervised and

funded by the State of Colorado pursuant to the Colorado Constitution and Title 23, Article 20 of

the Colorado Revised Statutes. CU Boulder has a duty to provide its students equal protection and

due process of law by and through any and all procedures set forth by the University.

          175.         Plaintiff had obeyed all institutional rules when he was wrongly suspended from

CU Boulder.

          176.         Plaintiff was entitled to a process commensurate with the seriousness of the

allegations and the potential discipline, sanctions, and repercussions he was facing. Plaintiff was

deprived of a fundamentally fair process. Plaintiff’s right to due process was violated when:

          i.           OIEC personnel withheld service of the Notice of Investigation—at the request of
                       BPD—until after Plaintiff was interviewed by Detective Beckjord.



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          ii.          Plaintiff was required to schedule a meeting within 3 days of receiving the Notice
                       of Investigation or conclusions would be drawn against him. In contrast, Jane Roe
                       had no time constraints placed on her throughout the course of the investigation.

          iii.         Plaintiff was provided no form of hearing and was permitted to ask no questions of
                       the complainant or any other witnesses. Students accused of violations other than
                       sexual misconduct were permitted to submit written questions to be asked of
                       complainant and, in certain cases, a hearing was held.

          iv.          Plaintiff was denied access to the investigative file until after Vice President
                       Biden’s visit then Hasselbacher and Walker issued the written evidence summary
                       prior to Plaintiff’s review of the file.

          v.           Hasselbacher and Walker failed to question Jane Roe’s credibility and misstated
                       facts about the Spring 2014 allegation in order to find Plaintiff responsible for
                       violating the Student Conduct Code.

          vi.          OIEC failed to provide Plaintiff with any information about the Standing Review
                       Committee, including any right to challenge the members reviewing the
                       Confidential Investigation Report;

          vii.         The Standing Review Committee took less than one day to review the investigative
                       file and read the 55-page report;

          viii.        Simons, who had a vested interest in the outcome of Title IX cases at CU Boulder,
                       issued the sanction.

          ix.          Plaintiff was denied the right to an appeal before an appeal committee. Students
                       accused of violations other than sexual misconduct are given this right. Plaintiff
                       was also entitled to an appeal, or seek to leave to appeal, by an appeal committee
                       under the Student Conduct Code.

          x.           Simons tasked herself as the sole individual responsible for conducting an
                       administrative review of Plaintiff’s appeal.

          178.         CU Boulder deprived Plaintiff of his liberty and property interests without affording

him basic due process, including but not limited to, his right to be notified of the charges against

him, his right to a fair adjudication, his right to be heard by an impartial factfinder, to question his




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accuser, to challenge the credibility of other adverse witnesses and present evidence and witnesses

in support of his defense.

          179.         CU Boulder failed to provide Plaintiff with the basic due process protections that it

was required to provide students accused of sexual misconduct at a state university.

          180.         CU Boulder, DiStefano, as well as other agents, representatives and employees of

CU Boulder intentionally, willfully, wantonly, oppressively and maliciously violated Plaintiff’s

due process rights.

          181.         CU Boulder deprived Plaintiff of the requisite due process because the University

had a pecuniary interest in the outcome of the adjudication. Specifically, CU Boulder was under

OCR investigation at the time of the investigation into Jane Roe’s Spring 2014 allegation and

potentially risked the loss of federal funding or other penalty if they found in favor of Plaintiff.

          182.         Based on the foregoing, CU Boulder violated the rights and guarantees set forth in

the Fourteenth Amendment of the United States Constitution during the investigation and

adjudication of the Spring 2014 allegation.

          183.         As a result of the foregoing, Plaintiff is entitled to prospective injunctive relief

expunging Plaintiff’s disciplinary record; removing any record of Plaintiff’s suspension from his

education file; destroying any and all records pertaining to Jane Roe’s complaint; and conferring

Plaintiff’s degree by applying existing credit hours that Plaintiff accrued to cover the 6 elective

credits that he was unable to complete as a result of his wrongful suspension or, in the alternative,

allow Plaintiff to return to CU Boulder at a time of his choosing in order to complete the six credit

hours remaining for receiving his degree without the imposition of any conditions for readmission

to the University.


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                                                 COUNT III
                                              Breach of Contract
                                             (Against CU Boulder)

          184.         Plaintiff repeats and re-alleges each and every allegation hereinabove as if fully

set forth herein.

          185.         At all times relevant hereto, a contractual relationship existed between CU Boulder

and Plaintiff through CU Boulder’s policies and procedures governing the student disciplinary

system, including but not limited to the Student Conduct Code and the OIEC Policies and

Procedures.

          186.         Through the documents it publishes and provides to students, CU Boulder makes

express contractual commitments to students involved in a disciplinary process.

          187.         Based on the foregoing, CU Boulder created express and implied contracts with

Plaintiff.

          188.         The contracts contained an implied covenant of good faith and fair dealing. They

implicitly guaranteed that any proceedings would be conducted with basic fairness.

          189.         Based on the aforementioned facts and circumstances, CU Boulder breached

express and/or implied agreement(s) with Plaintiff.

          190.         CU Boulder committed several breaches of its agreements with Plaintiff during the

investigation and hearing process, including, without limitation:

              i.       The University failed to employ investigators who had the appropriate training,
                       qualifications and experience to “facilitate a prompt, fair, equitable and impartial
                       investigation.” 2015-2016 OIEC Process and Procedures § H.4.

             ii.       Hasselbacher and Walker issued the written evidence summary prior to Plaintiff’s
                       review of the investigation file, denying him the opportunity to respond within the
                       requisite seven-day period. 2015-2016 OIEC Process and Procedures § 6.a.3.


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           iii.         OIEC applied the wrong procedures to Jane Roe’s Spring 2014 allegation, The
                       OIEC’s 2015-2016 Process and Procedures were applied, even though those very
                       Procedures state that “the date of the alleged incident determined which Process
                       and Procedures (or applicable Student Code of Conduct prior to 2015-2016) will
                       apply.” 2015-2016 OIEC Process and Procedures § C.2.

                       This prejudiced Mr. Norris as the applicable 2013-2014 Student Conduct Code
                       allowed CU Boulder administrators to consider a complainant’s unreasonable delay
                       in reporting an incident when evaluating the merits of a complaint or report. App.
                       1 § D.2. The 2013-2014 Student Conduct Code also provided for the right to an
                       appeal to an appeal committee. § K.

           iv.         OIEC failed to resolve the complaint in a timely manner. 138 days, or nearly five
                       (5) months, elapsed between the time that OIEC received the Complainant’s report
                       about the alleged incident and the investigators issued their final report. 2013-2014
                       Student Conduct Code App. 1 D. 6; 2015-2016 OIEC Process and Procedures
                       § H.6.a.vii.

            v.         The “standing review committee,” about which Mr. Norris was provided no
                       information,20 took less than 1 day to review the evidence file and 55-page final
                       investigation report, rubber stamping the investigators’ finding. The committee
                       could not have conducted the thorough review required under the Student Conduct
                       Code and OIEC Process and Procedures in such a short time period. 2015-2016
                       OIEC Process and Procedures § H.6.a.v; 2013-2014 Student Conduct Code App. 1
                       § D. 6.

           vi.         The Standing Review Committee was not adequately trained. 2015-2016 OIEC
                       Process and Procedures § H.6.a.v; 2013-2014 Student Conduct Code App. 1 § D.
                       6.

          vii.         The investigators failed to apply the “preponderance of the information” standard
                       under the 2013-2014 Student Conduct Code, or “preponderance of the evidence”
                       under the 2015-2016 OIEC Process and Procedures. 2013-2014 Student Conduct
                       Code § H.4 and App. 1 § D.5; 2015-2016 OIEC Process and Procedures § H.6.c.

         viii.         Simons issued the sanction rather than her designee or the OSC Director. 2015-
                       2016 OIEC Process and Procedures H.6.e; 2013-2014 Student Conduct Code App.
                       1 § D.9.




20
  The only information that Mr. Norris received in regard to the committee was a notation in the investigators’ “Notice
of Finding” that “the investigators’ finding was reviewed and approved by a review committee.”

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           ix.         Simons’ “administrative review” which she improperly undertook according to the
                       OIEC 2016-2017 Process and Procedures, was ineffectual because Simons was
                       responsible for issuing the sanction in the first instance. The review was,
                       accordingly, a sham process. Simons should have appointed a designee. 2016-2017
                       OIEC Process and Procedures § C.5.

          191.         Based on the aforementioned facts and circumstances, CU Boulder breached and

violated the covenant of good faith and fair dealing implied in the agreement(s) with Plaintiff.

          192.         As a direct and foreseeable consequence of the foregoing breaches, Plaintiff

sustained damages, including, without limitation, loss of educational and career opportunities,

economic injuries and other direct and consequential damages.

          193.         As a result of the foregoing, Plaintiff is entitled to damages in an amount to be

determined at trial.

                                               PRAYER FOR RELIEF

          WHEREFORE, for the foregoing reasons, Plaintiff demands judgment against

Defendants as follows:

               (i)        on the first count for violation of Title IX of the Education Amendments of
                          1972, a judgment against CU Boulder awarding Plaintiff damages in an amount
                          to be determined at trial, including, without limitation, damages to physical
                          well-being, emotional and psychological damages, damages to reputation, past
                          and future economic losses, loss of educational opportunities, and loss of future
                          career prospects, plus prejudgment interest, attorneys’ fees, expenses, costs and
                          disbursements and an injunction against CU Boulder as a result of CU
                          Boulder’s violation of Title IX, which resulted in an unduly severe and
                          unwarranted sanction which continues to injure Plaintiff’s reputation and right
                          to continue his education, an injunction should issue directing CU Boulder to:
                          (i) reverse the outcome and findings regarding Jane Roe’s complaint; (ii)
                          expunge Plaintiff’s disciplinary record; (iii) remove any record of Plaintiff’s
                          suspension from his education file; (iv) permanently destroy any record of Jane
                          Roe’s complaint; and (v) confer Plaintiff’s degree by applying existing credit
                          hours that Plaintiff accrued to cover the 6 elective credits that he was unable to
                          complete as a result of his wrongful suspension or, in the alternative, allow
                          Plaintiff to return to CU Boulder at a time of his choosing in order to complete


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                       the six credit hours remaining for receiving his degree without the imposition
                       of any conditions for readmission to the University;

               (ii)    on the second count for violation of constitutional due process under 42 U.S.C.
                       § 1983, an injunction directing DiStefano to (i) expunge Plaintiff’s disciplinary
                       record; (ii) remove any record of Plaintiff’s suspension from his education file;
                       (iii) permanently destroy any record of Jane Roe’s complaint; and (iv) confer
                       Plaintiff’s degree by applying existing credit hours that Plaintiff accrued to
                       cover the 6 elective credits that he was unable to complete as a result of his
                       wrongful suspension or, in the alternative, allow Plaintiff to return to CU
                       Boulder at a time of his choosing in order to complete the six credit hours
                       remaining for receiving his degree without the imposition of any conditions for
                       readmission to the University

               (iii)   on the third count for state law breach of contract, a judgment against CU
                       Boulder awarding Plaintiff damages in an amount to be determined at trial,
                       including, without limitation, damages to physical well-being, emotional and
                       psychological damages, damages to reputation, past and future economic
                       losses, loss of educational opportunities, and loss of future career prospects,
                       plus prejudgment interest, attorneys’ fees, expenses, costs and disbursements;

               (iv)    an injunction directing CU Boulder to: (i) reverse the outcome and findings
                       regarding Jane Roe’s complaint; (ii) expunge Plaintiff’s disciplinary record;
                       (iii) remove any record of Plaintiff’s suspension from his education file; (iv)
                       permanently destroy any record of Jane Roe’s complaint; and (v) confer
                       Plaintiff’s degree by applying existing credit hours that Plaintiff accrued to
                       cover the 6 elective credits that he was unable to complete as a result of his
                       wrongful suspension or, in the alternative, allow Plaintiff to return to CU
                       Boulder at a time of his choosing in order to complete the six credit hours
                       remaining for receiving his degree without the imposition of any conditions for
                       readmission to the University; and

               (v)     awarding Plaintiff such other and further relief as the Court deems just,
                       equitable and proper.




                                            JURY DEMAND

          Plaintiff herein demands a trial by jury of all triable issues in the present matter.


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Dated: August 30, 2018

Respectfully Submitted,


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